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 9                          UNITED STATES DISTRICT COURT

10                        CENTRAL DISTRICT OF CALIFORNIA

11                                 WESTERN DIVISION

12
     PERFECT 10, INC.,                         CV 11-7098 ABC (SHx)
13
                          Plaintiff,           ORDER DENYING PLAINTIFF’S
14
                                               MOTION FOR PARTIAL SUMMARY
               v.                              JUDGMENT
15
     GIGANEWS, INC., et al.,
16
                          Defendants.
17

18

19        Pending before the Court is Plaintiff Perfect 10, Inc.’s

20   (“Plaintiff”) Motion for Partial Summary Judgment Re: (i) DMCA

21   Compliance of Samples Notices; and (ii) Ineligibility of Defendants

22   for DMCA Safe Harbor Defense (“Motion,” docket no. 142), filed on

23   Nocember 4, 2013.   Defendants Giganews, Inc. (“Giganews”) and Livewire

24   Services, Inc. (“Livewire”) (together, “Defendants”) filed an

25   Opposition and Plaintiff filed a Reply.       Plaintiff and Defendants also

26   filed additional materials.     See docket nos. 159-161, 165, 175.        The

27   Court finds the Motion appropriate for resolution without oral

28   argument and therefore VACATES the hearing set for February 24, 2014.
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 1   See Fed. R. Civ. P. 78, Local Rule 7-15.        For the following reasons,

 2   the Court DENIES the Motion in its entirety.

 3

 4                                  I.   BACKGROUND

 5        This Order assumes familiarity with the prior Orders issued in

 6   this case, in particular with the Order granting in part and denying

 7   in part Defendants’ Motion to Dismiss Complaint.        See March 8, 2013

 8   Order (J. Matz) (docket no. 97) (“March 8 Order”).

 9        In summary, Plaintiff owns the copyrights to thousands of adult

10   images and several trademarks derivative of its name.         Giganews is a

11   Usenet service provider.    The Usenet is a global network of servers

12   that host online bulletin boards or newsgroups to which users can post

13   “messages.”   As a service provider, Giganews operates servers that

14   store this user-generated content.        Livewire claims it does not store

15   infringing materials, but instead resells access to Giganews’s

16   servers.    Yokubaitis Decl. ¶¶ 12-16.     Plaintiff alleges that Usenet

17   users have posted messages containing thousands of Plaintiff’s

18   copyrighted images, and, broadly speaking, Plaintiff seeks to hold

19   Defendants liable for hosting those images on their servers and/or

20   providing access to those images.

21        Following motions to dismiss, the claims remaining in the case

22   are: for direct, contributory, and vicarious copyright infringement

23   against Giganews; and for direct copyright infringement against

24   Livewire.   Plaintiff now seeks summary adjudication of issues relating

25   to Defendants’ affirmative defenses, in particular, relating to

26   Defendants’ assertions that they are eligible for certain safe harbors

27   established by the Digital Millenium Copyright Act (“DMCA”), 17 U.S.C.

28   § 512.   A party that satisfies the conditions of the safe harbor

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 1   provisions is protected from liability for copyright infringement.
 2        Although Plaintiff has not organized its Motion in the most
 3   logical way and fails to distinguish between Giganews and Livewire,
 4   Defendants have helpfully parsed the Motion, and summarize it as
 5   seeking adjudication of the following issues as to Giganews:          (1)
 6   whether five notices Plaintiff sent to Giganews meet the requirements
 7   of 17 U.S.C. § 512(c)(3)(A); (2) whether Giganews has reasonably
 8   implemented a repeat infringer termination policy as required by §
 9   512(i); and (3) whether Giganews is eligible for the safe harbor
10   protections of §§ 512(a)-(d).     As to Livewire, Plaintiff appears to
11   make only one argument: that Livewire “purchases infringing materials
12   from Giganews and resells those infringing materials to third
13   parties,” conduct that Plaintiff claims excludes Livewire from any
14   safe harbor.   See Motion at 24:3-8.
15        Giganews argues that Plaintiff’s five sample notices do not
16   comply with 17 U.S.C. § 512(c)(3)(A); that it has reasonably
17   implemented a repeat infringer termination policy; and that it is
18   eligible for safe harbor protection under §§ 512(a), (c), and (d).
19   Livewire also contends that it is eligible for safe harbor protection
20   under §§ 512(a), (c), and (d).
21

22                               II.   LEGAL STANDARD
23        “The court shall grant summary judgment if the movant shows that
24   there is no genuine dispute as to any material fact and the movant is
25   entitled to judgment as a matter of law.”       Fed. R. Civ. P. 56(a).      The
26   moving party has the burden of demonstrating the absence of a genuine
27   issue of fact for trial.    Anderson v. Liberty Lobby, Inc., 477 U.S.
28   242, 256 (1986).

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 1        Once the moving party satisfies its initial burden, the adverse
 2   party must set forth specific facts showing that there is a genuine
 3   issue for trial.   S. Cal. Gas Co., 336 F.3d at 888 (“[The non-moving
 4   party] can defeat summary judgment by demonstrating the evidence,
 5   taken as a whole, could lead a rational trier of fact to find in its
 6   favor.”) (citations omitted).
 7        Both the moving party and the adverse party must support their
 8   factual positions by “citing to particular parts of materials in the
 9   record . . . or . . . showing that the materials cited do not
10   establish the absence or presence of a genuine dispute, or that an
11   adverse party cannot product admissible evidence to support the fact.”
12   Fed. R. Civ. P. 56(c)(1)(A), (B).
13        An issue of fact is genuine if it reasonably can be resolved in
14   favor of either party.    Anderson, 477 U.S. at 250-51.       “[A] district
15   court is not entitled to weigh the evidence and resolve disputed
16   underlying factual issues.”     Chevron Corp. v. Pennzoil Co., 974 F.2d
17   1156, 1161 (9th Cir. 1992).     Rather, “the inferences to be drawn from
18   the underlying facts . . . must be viewed in the light most favorable
19   to the party opposing the motion.”        United States v. Diebold, Inc.,
20   369 U.S. 654, 655 (1962).     However, the court must view the evidence
21   presented “through the prism of the substantive evidentiary burden.”
22   S. Cal. Gas Co., 336 F.3d at 254.      Yet “mere disagreement or the bald
23   assertion that a genuine issue of material fact exists” does not
24   preclude summary judgment.     Harper v. Wallingford, 877 F.2d 728, 731
25   (9th Cir. 1989).   The “existence of some alleged factual dispute
26   between the parties will not defeat an otherwise properly supported
27   summary judgment motion; the requirement is that there be no genuine
28   issue of material fact.”     Anderson, 477 U.S. at 247-48.       The “opponent

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 1   must do more than simply show there is some metaphysical doubt as to
 2   the material facts.”    Matsushita Elec. Indus. Co., Ltd. v. Zenith
 3   Radio Corp., 475 U.S. 574, 586 (1986).
 4

 5                                  III.   ANALYSIS
 6   A.      Preliminary Evidentiary Issues
 7           The Court has reviewed the parties’ voluminous evidentiary
 8   objections.    Plaintiff’s objections to the Declarations of Ronald
 9   Yokubaitis (docket no. 149-6) and Philip Molter (docket no. 149-11)
10   are substantially meritless.     By contrast, Defendants do raise serious
11   questions about whether the Declarations of Norman Zada (docket nos.
12   142-3, 150-1) are admissible.     Of particular concern is whether some
13   of Zada’s statements are tantamount to expert testimony that Zada is
14   not qualified to give.    However, the Court will not rule on these
15   objections because even if Zada’s testimony is admitted, Plaintiff’s
16   Motion still fails.
17           The Court overrules Plaintiff’s objections to the Declarations of
18   William Rosenblatt (docket no. 149-2) and John Levine (docket no. 149-
19   4).   Plaintiff argues that Defendants failed to disclose Rosenblatt
20   and Levine in their Rule 26 initial disclosures and therefore should
21   not be permitted to rely on their declarations to oppose the Motion.
22   However, Rosenblatt and Levine are offered as experts, and as such
23   Defendants were not required to disclose them in their Rule 26 initial
24   disclosures.    Rather, the deadline for disclosing experts is June 2,
25   2014.    See Scheduling Order (docket no. 139).      As such, Defendants
26   have not run afoul of the deadline for disclosing Rosenblatt and
27   Levine.    The Court also overrules Plaintiff’s objection that the
28   Yokubaitis Declaration should not be considered because Defendants did

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 1   not produce him for deposition.      It appears that Yokubaitis was ill
 2   and the parties were working to find a convenient deposition date when
 3   Plaintiff decided to file its Motion.       Notably, Plaintiff filed the
 4   Motion very early, as the discovery cut-off date is June 30, 2014.
 5   Id.   In the meantime, Yokubaitis was able to provide a declaration to
 6   support Defendants’ Opposition.      Nothing about this suggests
 7   Defendants failed to honor discovery obligations.
 8         Plaintiff’s position in the event the Court denies its objections
 9   is that the Court should continue the Motion to allow it to conduct
10   discovery on Rosenblatt, Levine, and/or Yokubaitis, and then file
11   supplemental briefing.    See Reply at 5, fn.1.      As noted, and as
12   Plaintiff should have known, this Motion is very premature.          If
13   Plaintiff decided in retrospect that filing the Motion so early was a
14   mistake, then it should have withdrawn it.       The interests of judicial
15   economy are ill-served when the Court makes piecemeal evidentiary
16   rulings and allows the parties to submit supplemental briefing that
17   the Court then has to reconcile with the existing flawed papers, all
18   to allow a party to attempt to salvage a Motion that it chose to file
19   months before the discovery cut-off.      The Court therefore declines to
20   stay the Motion on the terms Plaintiff proposes and will instead rule
21   on it.
22   B.    The Digital Millenium Copyright Act’s Legal Framework
23         The DMCA establishes safe harbors that protect service providers
24   from liability for (1) transitory digital network communications; (2)
25   system caching; (3) information residing on systems or networks at the
26   direction of users; and (4) information location tools.          17 U.S.C. §§
27   512(a)-(d) (footnotes omitted).      A service provider must satisfy
28   certain conditions to be eligible for any particular safe harbor.           To

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 1   be eligible for any of the § 512 safe harbors, a service provider must
 2   have “adopted and reasonably implemented” a policy that provides for
 3   the termination of repeat infringers.       17 U.S.C. § 512(i).
 4        At issue here is whether either Defendant is eligible for safe
 5   harbor under § 512(c), and whether Giganews has adopted and reasonably
 6   implemented a repeat infringer termination policy under § 512(i).
 7   C.   Plaintiff Has Not Shown that Giganews’ Repeat Infringer
          Termination Policy Falls Short of § 512(i).
 8
          To be eligible for any of the four safe harbors stated in §
 9
     512(a)-(d), a service provider must first meet the threshold
10
     conditions set out in § 512(i), including the requirement that it:
11
                has adopted and reasonably implemented, and informs
12
                subscribers and account holders of the service
13
                provider’s system or network of, a policy that
14
                provides   for   the   termination     in   appropriate
15
                circumstances of subscribers and account holders of
16
                the service provider’s system or network who are
17
                repeat infringers.
18
     17 U.S.C. § 512(i)(1)(A).
19
          The statute does not define “reasonably implemented.”          However,
20
     the Ninth Circuit treats this concepts as consisting of two
21
     components: first, whether a service provider implements a policy, and
22
     second, whether that implementation is reasonable.         See Perfect 10,
23
     Inc. v. CCBill LLC, 488 F.3d 1102, 1109-10 (9th Cir. 2007) (“ CCBill
24
     LLC”).   Under this rubric, a service provider “implements” a policy if
25
     “it has a working notification system, a procedure for dealing with
26
     DMCA-compliant notifications, and [] does not actively prevent
27
     copyright owners from collecting information needed to issue such
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 1   notifications.”   CCBill LLC, 488 F.3d at 1109.       Second, that
 2   implementation is “reasonable” if, under “‘appropriate circumstances,’
 3   the service provider terminates users who repeatedly or blatantly
 4   infringe copyright.”    Id.
 5        Plaintiff’s opening brief does not dispute that Giganews has a
 6   working notification system, a procedure for dealing with DMCA-
 7   compliant notifications, and that it does not actively prevent
 8   copyright owners from collecting information needed to issue such
 9   notices.   Despite its opening brief’s silence on these issues,
10   Plaintiff’s Reply appears to assert that the policy is inadequate.              As
11   such, the Court will briefly address whether Giganews’s policy, on its
12   face, satisfies the first component set forth in CCBill.
13        The parties refer to Giganews’s policy as a “two-strike” policy:
14   upon learning that a user has posted an infringing message, Giganews
15   freezes the user’s account and provides the user with a warning that
16   another infringement will result in the termination of the account.
17   If the user responds that he/she will not post any additional
18   infringing material, the account is “unfrozen.”        If Giganews is
19   informed that the user has posted any additional infringing material,
20   that user’s account is terminated.        See, e.g., Molter Decl. ¶¶ 27-35
21   (describing Giganews’s repeat infringer termination policy).          There is
22   no serious dispute that Giganews has a system in place to receive and
23   deal with DMCA-compliant notifications, and Plaintiff has not
24   suggested that Giganews prevents copyright owners from collecting data
25   they need to send such notices.      Having reviewed Giganews’s policy,
26   the evidence explaining it, and the relevant law, Plaintiff has not
27   shown that Giganews’s policy is inadequate such that Giganews does not
28   “implement” a policy.    Thus, the Motion is denied insofar as it argues

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 1   Giganews’s policy is inadequate.
 2        The gravamen of Plaintiff’s challenge is to the “reasonableness”
 3   of Giganews’s implementation of its policy, that is, whether Giganews
 4   actually terminates users as its policy states.        Again, Plaintiff has
 5   not carried its burden on this issue.       The Court will address each
 6   subissue briefly in turn.
 7        Plaintiff argues that Giganews has not terminated all of the
 8   repeat infringers who posted messages it identified by Message-ID in
 9   its DMCA notices.    Having reviewed all of the evidence, the Court
10   finds that it precludes summary adjudication of this issue in
11   Plaintiff’s favor.
12        Plaintiff also argues that Giganews must remove all of a repeat
13   infringer’s content, not just the content a copyright holder has
14   specifically identified as infringing.       Giganews acknowledges that it
15   removes only the specifically-identified infringing messages posted by
16   a repeat infringer, and not all of the messages ever posted by a
17   repeat infringer.    The Court is not persuaded that § 512(i)(1)(A)
18   requires a service provider to disable or delete all messages a repeat
19   infringer has ever posted.     By its terms, the section requires
20   “termination . . . of subscribers and account holders,” not the
21   deletion of messages.    In addition, by Plaintiff’s reading, §
22   512(i)(1)(A) would require a service provider to take down all of a
23   user’s messages, not just the infringing ones.        Because deleting non-
24   infringing messages does not serve any infringement-preventing
25   purpose, there is no justification for reading such a requirement into
26   the statute.   In short, the Court will not read into the statute a
27   requirement that its plain language does not support and that goes far
28   beyond stopping and deterring copyright infringement.

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 1        Plaintiff argues that the fact that Giganews has terminated only
 2   46 repeat infringers since 2008 despite removing more than 531 million
 3   infringing messages over the past year, see Molter Decl. ¶¶ 22, 28,
 4   demonstrates that Giganews does not properly implement its policy.
 5   The conclusion that Plaintiff urges is an inference that may be drawn
 6   from the bare facts its cites, but that conclusion is not compelled by
 7   the evidence.   As such, the Court cannot summarily adjudication this
 8   issue.
 9        Plaintiff argues that the fact that Giganews does not know the
10   identity of all users whose messages reside on its servers
11   demonstrates that Giganews’s policy is inadequate, because if Giganews
12   cannot identify a user, it cannot “reasonably implement” a repeat
13   infringer termination policy.      However, that a Usenet service provider
14   cannot identify all users whose messages reside on its servers appears
15   to be a function of how the entire Usenet works.         According to
16   Giganews, all Usenet service providers encrypt the data that
17   identifies the user who posted a message; this encrypted data is
18   reflected in a part of the message header called the X-trace field.
19   Only the Usenet service provider with whom an account is registered
20   can decrypt the X-trace field it has attached to a message posted by
21   that user.   Many of the messages hosted on Giganews servers are posted
22   through accounts registered with other Usenet providers.          Because
23   Giganews cannot decrypt the X-trace field on such messages, it cannot
24   link such messages to any specific users, and thus cannot apply its
25   repeat infringer termination policy to such users.         See, e.g., Molter
26   Decl. ¶¶ 18, 29-31; Rosenblatt Decl. ¶¶ 66-72.         The foregoing evidence
27   precludes summary adjudication of whether Giganews “reasonably
28   implements” its repeat infringer termination policy.

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 1        This evidence also raises an issue neither party addressed.            The
 2   Court questions whether Giganews could “terminate” repeat infringers
 3   who are registered with a different provider because, by definition,
 4   those users’s accounts reside with a different provider.           If Giganews
 5   can not terminate accounts registered with other Usenet providers,
 6   then Giganews would not be able to apply its repeat infringer policy
 7   to such accounts even if it could identify them as repeat infringers.
 8   At a minimum, in light of this unresolved threshold issue, the Court
 9   cannot find that Giganews’s repeat infringer termination policy is
10   inherently infirm merely because Giganews cannot identify accounts
11   through which infringing messages are posted when such accounts are
12   registered with a different provider.
13        For the foregoing reasons, the Court DENIES Plaintiff’s Motion
14   insofar as it seeks a determination that Giganews’s repeat infringer
15   termination policy does not comply with § 512(i)(1)(A)
16   D.   Plaintiff Has Not Established that its Notices Comply with
          § 512(c)(3)(A).
17
          To claim the protection of § 512(c) for storing material on
18
     systems or networks at the direction of users, a service provider
19
     must, “upon notification of claimed infringement as described in
20
     paragraph (3), respond[] expeditiously to remove, or disable access
21
     to, the material that is claimed to be infringing or to be the subject
22
     of infringing activity.”     17 U.S.C.A. § 512(c).      A service provider’s
23
     obligation to remove infringing material is not triggered unless the
24
     copyright holder provides a notice that complies with § 512(c)(3)(A).
25
     Section 512(c)(3)(A) states:
26
               (A)   To   be   effective   under   this   subsection,    a
27
                     notification of claimed infringement must be a
28

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 1                   written     communication         provided        to        the
 2                   designated agent of a service provider that
 3                   includes substantially the following:
 4                   (i)   A physical or electronic signature of a
 5                         person authorized to act on behalf of the
 6                         owner    of    an    exclusive     right    that       is
 7                         allegedly infringed.
 8                   (ii) Identification of the copyrighted work
 9                         claimed to have been infringed, or, if
10                         multiple copyrighted works at a single
11                         online    site      are   covered    by     a    single
12                         notification, a representative list of
13                         such works at that site.
14                  (iii) Identification of the material that is
15                         claimed to be infringing or to be the
16                         subject of infringing activity and that
17                         is to be removed or access to which is to
18                         be disabled, and information reasonably
19                         sufficient to permit the service provider
20                         to locate the material.
21                   (iv) Information          reasonably      sufficient        to
22                         permit the service provider to contact
23                         the     complaining       party,     such       as     an
24                         address,       telephone     number,        and,       if
25                         available, an electronic mail address at
26                         which    the     complaining        party       may    be
27                         contacted.
28                   (v)   A statement that the complaining party

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 1                          has a good faith belief that use of the
 2                          material in the manner complained of is
 3                          not authorized by the copyright owner,
 4                          its agent, or the law.
 5                     (vi) A statement that the information in the
 6                          notification    is   accurate,    and   under
 7                          penalty of perjury, that the complaining
 8                          party is authorized to act on behalf of
 9                          the owner of an exclusive right that is
10                          allegedly infringed.
11   17 U.S.C. § 512(c)(3).
12           Plaintiff seeks a ruling that five of the Notices it sent to
13   Giganews comply with § 512(c)(3)(A).        See Notices (Zada Decl. Exhs. 9-
14   13).1
15           The parties’ disagreement focuses on one element, §
16   512(c)(3)(A)(iii), which has two components: identification of the
17   infringing material, and information reasonably sufficient to permit
18   the service provider to locate the material.
19           At this point, a description of Plaintiff’s Notices is in order.
20   Plaintiff’s Notices instruct Giganews to use certain newsreaders to
21   conduct searches of specific names within certain newsgroups, and then
22   tell Giganews that all of the messages yielded by those searches on a
23   certain date contained infringing material.        Along with (verbose)
24   written instructions for performing these searches, Plaintiff’s
25
             1
26           Plaintiff sent more than these five notices to Giganews.
     However, Plaintiff appears to believe that these notices are
27   representative of the body of notices it sent to Giganews, such that
     any adjudication of this issue with respect to any of the five notices
28   will apply to other notices at issue in the case.

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 1   Notices include pages of thumbnail images of the infringing materials
 2   and/or screen shots of the newsreader interface reflecting the search
 3   results.     Plaintiff contends that this satisfies § 512(c)(3)(A)(iii)
 4   because the search results and thumbnails both “identify” the
 5   infringing messages and also provide sufficient information to permit
 6   Giganews to “locate” those messages.
 7        Giganews contends that these Notices are inadequate insofar as
 8   they fail to include Message-IDs for each infringing message.
 9   According to Giganews, a Message-ID is a string of letters and
10   numbers; every Usenet message is assigned a unique Message-ID that any
11   Usenet user can view on a message’s message header.         Giganews contends
12   that a Message-ID is the only unique identifier associated with any
13   message, and is therefore the only way it can “locate,” and,
14   accordingly, disable, infringing messages.        See, e.g., Rosenblatt
15   Decl. ¶¶ 29-39.    Indeed, insofar as Plaintiff’s Notices included
16   Message-IDs for infringing messages, Giganews disabled those
17   messages.2    Yokubaitis Decl. ¶ 30.    Thus, the controversy is whether
18   Plaintiff’s Notices lacking Message-IDs satisfy § 512(c)(3)(A)(iii).
19        Stated in terms of the statute, the issue is whether, as
20   Plaintiff contends, its search instructions and the attached thumbnail
21   images and screen shots “identif[y]” the infringing material and
22   constitute “information reasonably sufficient to permit the service
23   provider to locate the material.”      17 U.S.C. § 512(c)(3)(A)(iii).
24        Caselaw explains that the “DMCA notification procedures place the
25   burden of policing copyright infringement – identifying the
26

27
          2
               Plaintiff’s Notices indicated a Message-ID (seemingly
28   inadvertently) for only a small minority of the infringing messages.

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 1   potentially infringing material and adequately documenting
 2   infringement – squarely on the owners of the copyright.”          CCBill, 448
 3   F.3d at 1113.   “The goal of [Subsection (c)(3)(A)(iii)] is to provide
 4   the service provider with adequate information to find and address the
 5   allegedly infringing material expeditiously.”        Viacom Intern Inc. v.
 6   YouTube, Inc., 940 F. Supp. 2d 110,        115 (S.D.N.Y. 2013) (emphasis
 7   added).   Congress cited as “an example of such sufficient information”
 8   “a copy or description of the allegedly infringing material and the
 9   URL address of the location (web page) which is alleged to contain the
10   infringing material.”    Id.
11        The Court has reviewed the cases and all of the evidence bearing
12   on this issue and finds that Plaintiff has not met its burden of
13   showing that, as a matter of law, its Notices comply with §
14   512(c)(3)(A)(iii).
15        As to the identification component of § 512(c)(3)(A)(iii), it is
16   not clear that Plaintiff’s approach of pointing to the results of a
17   search performed on a specific date at a specific time on a specific
18   newsreader, and attaching thumbnail images and screen shots, amounts
19   to “identification of the infringing material. . .”         First, this
20   method points to a list of search results, not to any material in
21   particular.   Second, it is judicially noticeable that the material
22   accessible through the Usenet is in a constant state of flux.           As
23   such, there is no certainty that any particular search will yield the
24   exact same results at different times.       Searches moments apart could
25   yield different results.     Plaintiff argues that the searches it
26   specified in fact yielded the same results when performed months
27   apart.    See Reply at 6:4-11.    However, even accepting the assertion
28   that searches performed at different times yielded the same results,

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 1   verifying this requires a Usenet provider to compare its search
 2   results to Plaintiff’s search results in an onerous side-by-side,
 3   line-by-line manner.    See Zada Reply Decl. ¶ 7 (3:20-4:1) (describing
 4   his process for comparing search results).        Furthermore, a close
 5   reading of the Zada Reply Declaration reveals that, for at least one
 6   of the Notices, the search Plaintiff instructed Giganews to perform
 7   yielded some messages that were non-infringing.         See Zada Reply Decl.
 8   ¶ 7 (3:13-20).   As such, Plaintiff’s “identification” method enlists
 9   Giganews to compare its search results to Plaintiff’s search results
10   to see if they are the same, and to distinguish between material that
11   infringes Plaintiff’s copyrights and material that doesn’t.           The more
12   Giganews must sort through these search results to determine what the
13   infringing material is, the less it seems that Plaintiff has provided
14   Giganews with “identification of” the infringing material.           In light
15   of all of the foregoing, this issue cannot be resolved summarily in
16   Plaintiff’s favor.
17        As to whether Plaintiff’s Notices provide “information reasonably
18   sufficient to permit the service provider to locate the material,”
19   again, Plaintiff has not met its burden.        This provision, by its
20   terms, is slippery: it requires the copyright holder to provide
21   “information reasonably sufficient . . .”         Every first year law
22   student learns that the term “reasonably” is amorphous, but it almost
23   always involves the weighing of alternatives, burdens, and costs.            As
24   noted above, the burden of “identifying the potentially infringing
25   material and adequately documenting infringement [falls] squarely on
26   the owners of the copyright.”      CCBill, 448 F.3d at 1113.      Furthermore,
27   the notification should enable the service provider to remove the
28   offending material expeditiously.      See YouTube, 940 F. Supp. 2d at

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 1   115.   “[A] copy or description of the allegedly infringing material
 2   and the URL address of the location (web page) which is alleged to
 3   contain the infringing material” is an example of sufficient
 4   information.    Id. (emphasis added).
 5          Giganews analogizes a Usenet message’s Message-ID to a webpage’s
 6   URL, as, like a URL, the Message-ID is the only unique identifier that
 7   a Usenet service provider can use to locate a Usenet message.           Indeed,
 8   according to Giganews, the Message-ID is the data Giganews enters into
 9   its disabling program to disable a message.        See Molter Decl. ¶ 20.
10   In an attempt to downplay the singular utility of a Message-ID for
11   identifying and locating a message, Plaintiff points to several other
12   variables in message headers that could be used in combination to
13   “locate” a message.    But, a Message-ID suffices to locate a message,
14   and adding more variables to the location process does not solve any
15   problem, it only complicates them.       In short, Plaintiff’s     Rube
16   Goldberg method of locating messages doesn’t aid Plaintiff, because
17   that method would just compound the problems noted below for both
18   sides.
19          Based on Giganews’s evidence, the searches Plaintiff instructed
20   it to perform appear to be analogous to a web search using a search
21   engine, such as the kind of search one would perform using Google.
22   Such searches yield a list of results that may or may not include the
23   content the user wants to find.      See, e.g., Rosenblatt Decl. ¶¶ 25-28,
24   Levine Decl. ¶¶ 32-39.     Giganews has presented evidence that such
25   searches simply do not function effectively within Usenet’s
26   architecture.   See Rosenblatt Decl. ¶¶ 29-39, Levine Decl. ¶¶ 34-39.
27   The Court also notes that while a web search may “find” a number of
28   results, the search itself does not actually locate the items found;

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 1   the search engine just presents its search results in a list, and any
 2   item in that list is not “located” until its URL is extracted.
 3        Similarly, Giganews argues that in order to “locate” a message
 4   that appears in one of Plaintiff’s searches, one must extract the
 5   Message-ID from that message’s message header.         See Rosenblatt Decl.
 6   ¶¶ 29-39.   Both sides describe several ways to extract the Message-ID.
 7   The most onerous approach is a manual, message-by-message process
 8   requiring a person to download each message, open each message’s
 9   message header, and extract the Message-ID by cutting-and-pasting the
10   Message-ID from the message header into another document or program.
11   A more efficient approach involves using a computer program to extract
12   Message-IDs automatically from a number of pre-selected messages,
13   without the need for a person to undertake the above-described manual
14   cut-and-paste steps for each message individually.         There is evidence
15   that both Plaintiff and Giganews can perform these manual Message-ID
16   extractions, and both could also easily write computer programs to
17   execute such extractions.     Giganews also points out that many holders
18   of large portfolios of copyrighted material enlist the service of
19   third-party companies who prepare DMCA notices with Message-IDs.
20        Thus, the crux of the parties’ dispute is who must bear the
21   burden of extracting the Message-IDs associated with the infringing
22   messages, copyright holders or Usenet service providers.          According to
23   Giganews, if it had to extract Message-IDs for the hundreds of
24   millions of messages identified in DMCA notices it has received, it
25   would not be able to function.      See Opp’n 5:24-26; 21:21-25.       All of
26   the declarations Giganews submitted substantiate this claim.           That
27   Plaintiff also expects Giganews to run searches and compare its search
28   results to Plaintiff’s search results to isolate infringing messages

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 1   makes this burden even greater.      Giganews also points out that because
 2   Plaintiff already knows which messages are infringing, it would be
 3   much easier for Plaintiff to extract the Message-IDs, whether by a
 4   manual cut-and-paste method, by using a computer program, or by using
 5   a third-party service.     For its part, Plaintiff notes that Giganews
 6   did extract Message-IDs for infringing messages reflected in Notices 1
 7   and 2, and argues that this demonstrates that all Notices lacking
 8   Message-IDs were sufficient to allow Giganews to locate the messages.
 9        Based on the foregoing, triable issues preclude summary
10   adjudication of this issue in Plaintiff’s favor.         Giganews has
11   presented substantial evidence of the untenable burden it would face
12   if every DMCA notice it received required it to undertake the Message-
13   ID extraction process Plaintiff expects of it.         That Giganews
14   evidently chose to undertake this process for two of Plaintiff’s
15   Notices does not necessarily mean that those Notices satisfy §
16   512(c)(3)(A); it may mean that Giganews went beyond its duty.
17        In short, Plaintiff has not met its burden to show that its
18   Notices comply with 17 U.S.C. § 512(c)(3)(A)(iii).         This aspect of the
19   Motion is therefore DENIED.
20   E.   Plaintiff Has Not Shown that the Defendants Are Ineligible for
          Safe Harbor Protection Under § 512(c).
21
          Plaintiff contends that Defendants are not eligible for any of
22
     the four safe harbors set forth in §§ 512(a)-(d), but really only
23
     addresses § 512(c) in relation to Giganews.        Plaintiff devotes only
24
     one page and six lines of its opening brief to this argument.           See
25
     Mot. 23:21-24:26.    Plaintiff’s argument as to Livewire is somewhat
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     hard to discern and is stated entirely as follows: that Livewire
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     “purchases infringing materials from Giganews and resells those
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 1   infringing materials to third parties,” conduct that Plaintiff claims
 2   excludes Livewire from any safe harbor.       See Motion at 24:3-8.      In
 3   response, both Defendants contend that they are eligible for
 4   protection under §§ 512(a), (c), and/or (d).        Because Plaintiff did
 5   not specifically address §§ 512(a) or (d), those safe harbors are not
 6   in issue so the Court will not reach them.        The Court will therefore
 7   only reach Defendants’ eligibility for § 512(c).
 8         Section 512(c) provides immunity “for infringement of copyright
 9   by reason of the storage at the direction of a user of material that
10   resides on a system or network controlled or operated by or for the
11   service provider.”    Thus, a provider may be immune if it stores
12   infringing material at the direction of a user.         Plaintiff contends
13   that Giganews is not eligible for this safe harbor because it copies
14   infringing messages to its servers without the intervention of third-
15   party users, and because it stores these images on its servers for as
16   long it wants to.    However, according to Giganews, that messages are
17   copied to Usenet servers in this way is simply a function of the
18   Usenet, which provides for the continuous and automatic propagation or
19   copying of messages across all Usenet servers.         See Rosenblatt Decl. ¶
20   29.   Because these messages are propagated automatically once they are
21   posted by the third-party user, that propagation itself is arguably
22   “at the direction of” a user.      Insofar as Plaintiff’s arguments as to
23   Livewire turns on its statement that Livewire “purchases infringing
24   materials from Giganews and resells those infringing materials to
25   third parties,” that is a disputed issue of fact.         As such, whether
26   Defendants are eligible for protection under § 512(c) cannot be
27   summarily adjudicated in Plaintiff’s favor, so this aspect of the
28   Motion is DENIED.

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 2                                  IV.   CONCLUSION
 3        For the foregoing reasons, Plaintiff’s Motion for Partial Summary
 4   Judgment is DENIED in its entirety.
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 7        IT IS SO ORDERED.
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10   DATED: January 29, 2014           __________________________
                                            AUDREY B. COLLINS
11                                          UNITED STATES DISTRICT JUDGE
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